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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA

DOYLE LEE HAMM,                              )
                                             )
      Plaintiff,                             )
                                             )
v.                                           )
                                             )       No. 2:17-CV-02083-KOB
JEFFERSON S. DUNN, et al.,                   )
                                             )
      Defendants.                            )

               ═══════════════════════════════
                  AGREED CONFIDENTIALITY ORDER
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      The parties to this case, by and through their respective counsel, have agreed

and stipulated to the entry of this Agreed Confidentiality Order, subject to the

approval of the court. The parties and their counsel agree to comply with all the

terms of this Agreed Confidentiality Order as set forth below.

      1.     This Agreed Confidentiality Order between the plaintiff and the

defendants covers the use and disclosure of confidential material (“Confidential

Material”) of any kind produced in connection with this case by the parties to this

litigation and by third parties (collectively, the “Producing Parties”).

      2.     All material produced in this action is deemed Confidential Material,

and may not be disclosed to any persons or entities other than those specified in

paragraph 8 of this Order, provided such material is designated as Confidential

Material by the Producing Party in accordance with the provisions of this Agreed
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Confidentiality Order.    In addition, the following materials and information, if

produced in this action, are and shall be deemed “Confidential Material” whether or

not so designated by the Producing Party:

        (a) the written execution protocol adopted by the Alabama
            Department of Corrections (“ADOC”), and any drafts or
            amendments to the protocol;
        (b) information contained within the ADOC’s execution protocol;

        (c) the current or past procedures used by the State to carry out
            executions by lethal injection including, but not limited to: the
            drugs used in such procedures, the manner of administering
            such drugs, and the identities of persons who monitor or carry
            out execution procedures;

        (d) all testimony, information, or documents referring to the
            ADOC’s procedures with respect to Death Row inmates which
            identify or discuss security procedures, security personnel, or
            pre-execution schedules;
        (e) any other testimony, information, or documents whose
            disclosure would present a security risk to: the ADOC, current
            and past ADOC employees, current and past ADOC
            contractors, or any other individuals or entities currently or
            previously involved in the execution of any Alabama death row
            inmate.

      Documents or information that is already in the public domain will not become

confidential by virtue of this Order. However, to the extent that only a portion of

information in a document was in the public domain, only that portion of

information—not the entire document—will be considered non-Confidential.

      3.     The provisions of this Order extend to all Confidential Material

regardless of the manner or form in which it is disclosed, including but not limited to

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documents, interrogatory responses, responses to requests for admissions, deposition

transcripts, deposition exhibits, testimony and any other materials produced by a

party in response to or in connection with any discovery conducted in this litigation,

and to any copies, notes, abstracts, summaries, analyses, demonstrative exhibits or

other documents that reflect information contained in the foregoing materials.

      4.     The designation of Confidential Material for the purposes of this Agreed

Confidentiality Order shall be made by plainly marking the item, or where that is not

possible, by marking a container or tag, with the legend “CONFIDENTIAL.” In the

case of depositions or other pretrial testimony, the parties shall designate the

Confidential Material: (i) by a statement on the record by counsel for the Producing

Party at the time of such disclosure; or (ii) by written notice, sent by counsel for the

Producing Party to counsel of record for the parties to this Action within 5 business

days after receipt of the transcript of the deposition. All transcripts (including

exhibits) shall be considered Confidential Material and shall be subject to this Agreed

Confidentiality Order until expiration of such five-day period. The court reporter

shall be instructed to mark each designated page as “CONFIDENTIAL” and the

cover page of any transcript containing Confidential Material shall indicate that the

transcript contains such Confidential Material.

      5.     Whenever any Confidential Material is to be discussed or disclosed in a

deposition, the Producing Party may exclude from the room any person who is not


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entitled to receive such information. The parties further agree that they can arrange

for the review of potentially Confidential Material prior to designation without

waiver of any claim to confidentiality.       After such Material is reviewed, the

Producing Party may designate copies of the Material requested Confidential as

appropriate before providing copies to the receiving party (“Receiving Party”).

      6.     The inadvertent failure to designate specific information or material as

Confidential Material shall not be deemed a waiver in whole or in part of the

Producing Party’s claim of confidentiality as to such information or material.

      6(a). In the event that information or material, whether in written or

             oral form, has been provided without any designation of

             confidentiality, such information may be designated as

             Confidential Material within 5 days of the discovery by the

             Producing Party that such information should have been so

             designated. Upon receipt of such notice, that information or

             material shall be treated as Confidential Material by all parties

             as though such information had been so designated when

             originally provided.

      6(b). If, prior to receiving notice pursuant to paragraph of 6(a), such

             information or material has already been disclosed to

             individuals who otherwise would not have been entitled to have


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             access to Confidential Material, the Receiving Party shall notify

             the Producing Party immediately. In addition, the Receiving

             Party shall immediately comply with all the procedures

             applicable to the inadvertent disclosure of Confidential

             Material, as discussed below in paragraph 9 of this Agreed

             Confidentiality Order.

      6(c). If a Producing Party decides to designate previously-provided

             information or material Confidential, or decides to delete the

             designation on item previously produced, the Producing Party

             shall provide the parties substitute copies of such documents

             bearing the desired designation within 5 days of re-designation.

             The parties to whom the substitute copies of such documents are

             produced shall substitute the later-produced documents for the

             previously-produced documents, and shall destroy or return to the

             Producing Party the previously-produced documents in their

             possession and all copies thereof.

       7.    Confidential Material may be used solely in connection with the instant

litigation. The identity, content, and/or any summary of Confidential Material shall

be maintained in strict confidence by the Receiving Party. Confidential Material may

not be disclosed to any persons or entities other than those specified in paragraph 8.


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      8.     The Receiving Party may show or otherwise divulge Confidential

Material only to the following persons:

       (a) counsel of record in this case, in the case of Mr. Hamm, or by the
           Alabama Attorney General’s Office, in the case of Defendants,
           and provided further that the names of other counsel are disclosed
           by email to opposing counsel prior to the sharing of any
           Confidential Material;
      (b)   parties’ experts;
      (c)   up to 5 staff persons assisting counsel of record, including, but not
            limited to, secretaries, photocopying personnel, and legal
            assistants and in the event that more than 5 staff persons are
            needed to assist counsel of record, the names of those additional
            staff persons shall be disclosed to opposing counsel by email and
            shall sign the acknowledgement attached as Exhibit A to this
            Order;
      (d)   the parties’ actual or proposed witnesses, with the exception that
            no copies of confidential material may be produced directly to the
            plaintiff, Doyle Lee Hamm;
      (e)   the court and court personnel, including court reporters and others
            involved in the recording of depositions;
      (f)   any other person who the Producing Party agrees in writing, or
            who the court directs, may have access to the Confidential
            Material.

Each person (with the exception of those specified in (a), (c), and (e) above) who is

permitted to see Confidential Material, or to whom the Confidential Material is

otherwise divulged, must certify that they agree to be bound by the provisions of this

Agreed Confidentiality Order and must sign a copy of the acknowledgement attached

as Exhibit A to this Order. All signed acknowledgements must be maintained in the

files of counsel who disclosed the Confidential Material, and counsel must produce
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copies of these signed acknowledgements to the court and/or to the defendants upon

request.

      9.     Should any person inadvertently disclose Confidential Material to any

person, entity, or court other than those persons described in paragraph 8, counsel for

the party responsible for the inadvertent disclosure shall immediately: (1) notify the

Producing Party of the disclosure; (2) provide in the notification to the Producing

Party the identity and current contact information (including full name, address,

telephone number(s) and email address) of all persons or entities who inadvertently

received the Confidential Material; (3) advise all persons or entities who

inadvertently received the Confidential Material that such information and its use are

governed by this Agreed Confidentiality Order; (4) take reasonable steps to insure the

return or permanent destruction of the Confidential Material and all copies thereof;

and (5) inform counsel for the Producing Party of the steps that have been taken to

insure the return or permanent destruction of the Confidential Material. Nothing in

this paragraph shall prohibit the Producing Party from taking any further action it

deems necessary to protect the secrecy of the Confidential Material or from seeking

redress for the disclosure thereof.

      10.    If any person receiving Confidential Material covered by this Agreed

Confidentiality Order is subpoenaed in another action or proceeding or served with a

document demand, and such subpoena or document demand seeks Confidential


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Material discussed in this Order, the person receiving the subpoena or document

demand shall give prompt written notice to the Producing Party, and shall, to the

extent permitted by law, withhold production of the subpoenaed Confidential

Material.

     10(a).    Before a Receiving Party produces or otherwise reveals the

               identity, content, and/or summary of any Confidential Material

               pursuant to law or court order, the Receiving Party shall provide

               the Producing Party with as much notice as possible and at least

               15 business days notice, unless otherwise impracticable due to

               deadlines imposed in the subpoena or document demand, so

               that the Producing Party may seek further protection from, and

               an opportunity to be heard by, a court. In no event shall the

               Receiving Party produce, disclose, or otherwise reveal any

               Confidential Material without making a good faith attempt to

               provide notice to the Producing Party.        In the event the

               Producing Party seeks such protection, the Receiving Party

               shall not disclose, produce, or otherwise reveal the identity,

               content, and/or summary of any Confidential Material unless

               and until further ordered by the court.

      11.     In the event a party wishes to use any Confidential Material, or any


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papers or other materials containing or making reference to the contents of such

Confidential Material, in any pleading or document filed with this court in this

litigation, such pleading or document and Confidential Material shall be filed under

seal, unless or until such time as the court orders otherwise or denies permission to

file under seal. Documents, pleadings, or other filings containing or referencing such

Confidential Material, shall be filed under seal in accordance with this court’s usual

procedures for filing redacted documents or documents under seal. To the extent that

a filing contains information that is not Confidential, such filing shall be filed

publicly, and the Confidential Material shall be redacted. These redacted items

should plainly state, in bold type, on the first page of any document “Public Version;

Redacted Copy.” In addition, such items filed under seal shall plainly state, in bold

type, on the first page of any bound or stapled document: “Confidential – Filed

Under Seal” and shall be filed only in sealed envelopes on which shall be endorsed

the caption of this Action and a statement substantially in the following form:

                                CONFIDENTIAL
      This envelope contains documents that are subject to a Confidentiality
      Agreement by the parties to this Action. This envelope shall neither be
      opened nor the contents revealed except by Order of the court.

The parties shall also follow in an expeditious manner any additional procedures

imposed by this court as a prerequisite to filing any document under seal.

      12.    To the extent the court orders, the parties may email sealed documents

to the court for filing, if hand delivery cannot be accomplished on the day of filing.
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The parties shall follow whatever procedures the court and/or the Clerk’s Office set

forth for email filing.

       13.    If any party believes that a document designated “Confidential

Material” does not warrant such designation, the Receiving Party shall raise the

matter with the Producing Party. The parties shall engage in a good faith effort to

resolve the dispute. It is the contemplation of this Order that a document will be

designated “Confidential Material” only when legitimately called for and that the

parties will employ their utmost efforts to resolve any disputes.

       14.    Nothing in this Order shall prevent the Producing Party from disclosing

Confidential Material to any employee or officer of the Producing Party or to any

person no longer affiliated with the Producing Party, who either authored, in whole

or in part, or received the Confidential Material prior to the initiation of this Action.

       15.    Within 60 days of the termination of this Action and all appeals of this

Action, any Confidential Material provided by any Producing Party, as well as all

copies, extracts and summaries thereof, shall be either: (1) returned to the Producing

Party or (2) permanently destroyed, in which case the Receiving Party must provide

to the Producing Party certification of this permanent destruction. Notwithstanding

the foregoing, counsel may retain an archival copy of any pleading and/or attorney

work product that references Confidential Material. Such archival documents shall

be retained and treated in accordance with the terms of this Order.


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       16.   A party’s compliance with the terms of this Agreed Confidentiality

Order shall not operate as an admission that any particular document or information

is or is not: (a) confidential; (b) privileged; (c) relevant; (d) material to any matter at

issue; (e) authentic; or (f) admissible in evidence at trial or any hearing.

       17.    The terms of this Agreed Confidentiality Order shall survive and remain

in full force and effect through the course of, and after the final termination of, this

Action. This court shall retain jurisdiction to resolve any dispute concerning the use

or disclosure of Confidential Material that is disclosed hereunder.

       SO ORDERED this 30th day of January, 2018.




                                              ______________________________
                                              KARON OWEN BOWDRE
                                              CHIEF UNITED STATES DISTRICT JUDGE




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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA

DOYLE LEE HAMM,                           )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )
                                          )       No. 2:17-CV-02083-KOB
JEFFERSON S. DUNN, et al.,                )
                                          )
      Defendants.                         )

                                   EXHIBIT A

      I, _______________________, hereby certify my understanding that

Confidential Material is being provided to me pursuant to the terms and restrictions

of the “Agreed Confidentiality Order” entered in this case.         I have read and

understand the Order, and I agree to be bound by the terms of the Order.


      I declare under penalty of perjury that the foregoing is true and correct.


      Executed on _________________

                          (date)

                                              _________________________
                                              (signature)

                                              _________________________
                                              (print full name




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